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                  EXHIBIT 1
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                                        In the

              United States Court of Appeals
                           For the Seventh Circuit
                              ____________________

         No. 14-1581
         ELIJAH MANUEL,
                                                         Plaintiff-Appellant,

                                             v.

         CITY OF JOLIET, ILLINOIS, et al.,
                                                      Defendants-Appellees.
                              ____________________

                  Appeal from the United States District Court for the
                     Northern District of Illinois, Eastern Division.
                On Remand from the Supreme Court of the United States.
                      No. 13 C 3022 — Milton I. Shadur, Judge.
                              ____________________

          ARGUED SEPTEMBER 19, 2017 — DECIDED SEPTEMBER 10, 2018
                         ____________________

            Before WOOD, Chief Judge, and EASTERBROOK and ROVNER,
         Circuit Judges.
            EASTERBROOK, Circuit Judge. Elijah Manuel was arrested
         and charged with possessing unlawful drugs. A judge de-
         cided that he would be held in jail pending trial. Forty-seven
         days later the prosecutor dismissed all charges after con-
         cluding that the pills Manuel had been carrying were legal.
         The next day he was released. Last year the Supreme Court
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         held that Manuel is entitled to seek damages on the ground
         that detention without probable cause violates the Fourth
         Amendment (applied to the states by the Fourteenth). Ma-
         nuel v. Joliet, 137 S. Ct. 911 (2017). The Justices remanded the
         question whether Manuel sued in time. Id. at 920–22. The
         parties agree that Illinois law, which supplies the period of
         limitations under Wilson v. Garcia, 471 U.S. 261 (1985), gave
         Manuel two years from the claim’s accrual. But federal law
         deﬁnes when a claim accrues. Wallace v. Kato, 549 U.S. 384,
         388 (2007).
              Here are the potentially important dates:
             • March 18, 2011: Manuel is arrested
             • March 18, 2011: A judge orders Manuel to remain in
               custody for trial
             • May 4, 2011: The prosecutor dismisses the charge
             • May 5, 2011: Manuel is released
             • April 22, 2013: Manuel sues under 42 U.S.C. §1983
         Defendants contend that Manuel’s claim accrued on March
         18, when the judge ordered him held pending trial. If that’s
         right, then Manuel sued too late. He maintains that the clock
         started on May 4, when his position was vindicated by dis-
         missal of the prosecution. We do not accept either approach.
         We hold that Manuel’s claim accrued on May 5, when he
         was released from custody. That makes this suit timely.
             Defendants’ position relies on Wallace, which held that a
         Fourth Amendment claim accrues (and the period of limita-
         tions starts) as soon as the plaintiﬀ has been brought before a
         judge (or, in the language of both Wallace and Manuel, has
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         been held pursuant to legal process). 549 U.S. at 389–91. This
         position encounters two problems.
             First, Wallace complained about his arrest rather than the
         custody that post-dated his appearance before a judge. Wal-
         lace, 549 U.S. at 386–87. Many violations of the Fourth
         Amendment concern pre-custody events: a search may in-
         vade privacy without the authorization of a warrant, or the
         police may use excessive force. These events can be litigated
         without awaiting vindication on the criminal charges, Wal-
         lace holds, because they do not deny the validity of any ensu-
         ing custody. Id. at 389–90. Manuel, by contrast, contests the
         propriety of his time in custody.
             Second, the line that the Justices drew in Wallace—in
         which a claim accrues no later than the moment a person is
         bound over by a magistrate or arraigned on charges, see 549
         U.S. at 389, and all Fourth Amendment claims are to be
         treated alike—did not survive Manuel. There the Court held
         that wrongful pretrial custody violates the Fourth Amend-
         ment “not only when it precedes, but also when it follows,
         the start of legal process in a criminal case.” 137 S. Ct. at 918.
         When a wrong is ongoing rather than discrete, the period of
         limitations does not commence until the wrong ends. See,
         e.g., National Railroad Passenger Corp. v. Morgan, 536 U.S. 101,
         115–21 (2002). Notice that we speak of a continuing wrong,
         not of continuing harm; once the wrong ends, the claim ac-
         crues even if that wrong has caused a lingering injury. See
         United States v. Kubrick, 444 U.S. 111 (1979); Delaware State
         College v. Ricks, 449 U.S. 250 (1980); Turley v. Rednour, 729
         F.3d 645, 654–55 (7th Cir. 2013) (concurring opinion). Manuel
         shows that the wrong of detention without probable cause
         continues for the length of the unjustiﬁed detention. When a
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         search or seizure causes injury independent of time spent in
         custody, the claim accrues immediately; but when the objec-
         tion is to the custody, a diﬀerent approach must control.
             Manuel’s position, which relies on an analogy to the tort
         of malicious prosecution—in which the claim does not ac-
         crue until the plaintiﬀ has prevailed (“been vindicated”) in
         the criminal case—might have seemed sensible before the
         Supreme Court spoke. As the Supreme Court recounted, it
         was popular among other courts of appeals, which charac-
         terized the claim as “Fourth Amendment malicious prosecu-
         tion.” Manuel, 137 S. Ct. at 921. If that’s the claim, then what
         could be bener than a rule devised for malicious-prosecution
         suits? Indeed, the defendants themselves conceded when
         this case was last here that, if the wrong is (as Manuel insist-
         ed) “Fourth Amendment malicious prosecution,” then the
         accrual date is May 4. But the Justices deprecated the analo-
         gy to malicious prosecution.
             After Manuel, “Fourth Amendment malicious prosecu-
         tion” is the wrong characterization. There is only a Fourth
         Amendment claim—the absence of probable cause that
         would justify the detention. 137 S. Ct. at 917–20. The prob-
         lem is the wrongful custody. “[T]here is no such thing as a
         constitutional right not to be prosecuted without probable
         cause.” Serino v. Hensley, 735 F.3d 588, 593 (7th Cir. 2013).
         But there is a constitutional right not to be held in custody
         without probable cause. Because the wrong is the detention
         rather than the existence of criminal charges, the period of
         limitations also should depend on the dates of the detention.
            The wrong of detention without probable cause contin-
         ues for the duration of the detention. That’s the principal
         reason why the claim accrues when the detention ends. (The
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         parties have debated whether a need to prove malice aﬀects
         the claim’s accrual. But after the Supreme Court’s decision
         this is a plain-vanilla Fourth Amendment claim, and analysis
         under that provision is objective. See, e.g., Ashcroft v. al-Kidd,
         563 U.S. 731 (2011).)
            A further consideration supports our conclusion that the
         end of detention starts the period of limitations: a claim can-
         not accrue until the would-be plaintiﬀ is entitled to sue, yet
         the existence of detention forbids a suit for damages contest-
         ing that detention’s validity.
             Preiser v. Rodriguez, 411 U.S. 475 (1973), holds that the
         right way to contest ongoing state custody is by a petition
         for a writ of habeas corpus under 28 U.S.C. §2241 or §2254,
         not by an action under §1983 seeking an injunction requiring
         release. Heck v. Humphrey, 512 U.S. 477 (1994), adds that
         §1983 cannot be used to obtain damages for custody based
         on a criminal conviction—not until the conviction has been
         set aside by the judiciary or an executive pardon. Although
         Heck dealt exclusively with §1983 proceedings that imply the
         invalidity of a conviction, Edwards v. Balisok, 520 U.S. 641
         (1997), extended its approach to custody that rests on the de-
         cision of a prison’s administrative panel revoking some of a
         prisoner’s good-time credits.
             After Preiser, Heck, and Edwards, §1983 cannot be used to
         contest ongoing custody that has been properly authorized.
         Those decisions do not concern the way to deal with execu-
         tive custody that lacks a judicial imprimatur—for example,
         detention in a police department’s cells before presentation
         to a judge. But Manuel was held by authority of a judicial
         decision that probable cause existed to show that he had
         commined a drug oﬀense. He contends that the police
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         hoodwinked the judge by falsely asserting that the pills he
         possessed had tested positive for an unlawful drug, and if he
         is right he is entitled to damages. Still, his detention was ju-
         dicially authorized, which given Preiser means that a §1983
         suit had to wait until his release. Heck tells us that a claim
         does not accrue before it is possible to sue on it. 512 U.S. at
         489–90. Once he was out of custody and could sue, Manuel’s
         claim accrued. He ﬁled this action within two years and is
         therefore entitled to a decision on the merits.
              The judgment of the district court is reversed, and the
         case is remanded for proceedings consistent with this opin-
         ion and the Supreme Court’s.
